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                               UNITED STATES DISTRICT COURT
                                                        Southern District of Florida
                                                               Miami Division


UNITED STATES OF AMERICA                                              JUDGMENT IN A CRIMINAL CASE
           v.
    JENNY HERNANDEZ                                                   Case Number: 19-60134-CR-COOKE
                                                                      USM Number: 20103-104

                                                                      Counsel For Defendant: Kristen Figueroa-Contreras, Esq.
                                                                      Counsel For The United States: Randall Katz, AUSA
                                                                      Court Reporter: Jill Felicetti
The defendant pleaded guilty to counts 1 – 4 of the Information.
The defendant is adjudicated guilty of these offenses:
                                                                                                     OFFENSE
TITLE & SECTION                          NATURE OF OFFENSE                                                             COUNT
                                                                                                     ENDED
18, U.S.C. 1546(a)                       Material false statement on immigration document.           03/09/2017        1-4
The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984.
It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney
of material changes in economic circumstances.
                                                                        Date of Imposition of Sentence:
                                                                        10/16/2019




                                                                        October 16, 2019
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DEFENDANT: JENNY HERNANDEZ
CASE NUMBER: 19-60134-CR-COOKE
                                                            IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 18 months.
The court makes the following recommendations to the Bureau of Prisons: Designation to a facility in the
Southern District of Florida.
The defendant is remanded to the custody of the United States Marshal.

                                                              RETURN
I have executed this judgment as follows:




Defendant delivered on ________________________________________ to ________________________________________

at ________________________________________, with a certified copy of this judgment.




                                                                 ___________________________________________
                                                                 UNITED STATES MARSHAL


                                                                 ___________________________________________
                                                                 DEPUTY UNITED STATES MARSHAL
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DEFENDANT: JENNY HERNANDEZ
CASE NUMBER: 19-60134-CR-COOKE
                              SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of 3 years.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least
two periodic drug tests thereafter, as determined by the court.

The defendant shall cooperate in the collection of DNA as directed by the probation officer.

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.
                                            STANDARD CONDITIONS OF SUPERVISION
     1.    The defendant shall not leave the judicial district without the permission of the court or probation officer;
     2.    The defendant shall report to the probation officer and shall submit a truthful and complete written report within the first fifteen
           days of each month;
     3.    The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4.    The defendant shall support his or her dependents and meet other family responsibilities;
     5.    The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or
           other acceptable reasons;
     6.    The defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7.    The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8.    The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9.    The defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person
           convicted of a felony, unless granted permission to do so by the probation officer;
     10.   The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
           of any contraband observed in plain view of the probation officer;
     11.   The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
           officer;
     12.   The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
           the permission of the court; and
     13.   As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s
           criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to
           confirm the defendant’s compliance with such notification requirement.
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DEFENDANT: JENNY HERNANDEZ
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                                              SPECIAL CONDITIONS OF SUPERVISION

Community Service - The defendant shall perform 150 hours of community service as monitored by the U.S.
Probation Officer.

Cooperation with the IRS - The defendant shall cooperate fully with the Internal Revenue Service in determining
and paying any tax liabilities. The defendant shall provide to the Internal Revenue Service all requested
documents and information for purposes of any civil audits, examinations, collections, or other proceedings. It is
further ordered that the defendant file accurate income tax returns and pay all taxes, interest, and penalties due
and owing by him/her to the Internal Revenue Service.

Financial Disclosure Requirement - The defendant shall provide complete access to financial information,
including disclosure of all business and personal finances, to the U.S. Probation Officer.

Permissible Search - The defendant shall submit to a search of his/her person or property conducted in a
reasonable manner and at a reasonable time by the U.S. Probation Officer.

Related Concern Restriction - The defendant shall not own, operate, act as a consultant, be employed in, or
participate in any manner, in any related concern during the period of supervision.

Self-Employment Restriction - The defendant shall obtain prior written approval from the Court before entering
into any self-employment.

Unpaid Restitution, Fines, or Special Assessments - If the defendant has any unpaid amount of restitution, fines,
or special assessments, the defendant shall notify the probation officer of any material change in the defendant’s
economic circumstances that might affect the defendant’s ability to pay.
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DEFENDANT: JENNY HERNANDEZ
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                                                  CRIMINAL MONETARY PENALTIES
The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                                    Assessment        Fine                 Restitution
             TOTALS                                  $400.00          $0.00                  $0.00
The determination of restitution is deferred until 12/18/2019 at 1:30 p.m. An Amended Judgment in a
Criminal Case (AO 245C) will be entered after such determination.
If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment,
unless specified otherwise in the priority order or percentage payment column below. However, pursuant to
18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United States is paid.
Restitution with Imprisonment - It is further ordered that the defendant shall pay restitution in the amount
to be determined at the restitution hearing currently scheduled for December 18, 2019 at 1:30 p.m. During
the period of incarceration, payment shall be made as follows: (1) if the defendant earns wages in a Federal
Prison Industries (UNICOR) job, then the defendant must pay 50% of wages earned toward the financial
obligations imposed by this Judgment in a Criminal Case; (2) if the defendant does not work in a UNICOR
job, then the defendant must pay a minimum of $25.00 per quarter toward the financial obligations imposed
in this order. Upon release of incarceration, the defendant shall pay restitution at the rate of 10% of monthly
gross earnings, until such time as the court may alter that payment schedule in the interests of justice. The
U.S. Bureau of Prisons, U.S. Probation Office and U.S. Attorney’s Office shall monitor the payment of
restitution and report to the court any material change in the defendant’s ability to pay. These payments do
not preclude the government from using other assets or income of the defendant to satisfy the restitution
obligations.
* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for
offenses committed on or after September 13, 1994, but before April 23, 1996.
**Assessment due immediately unless otherwise ordered by the Court.
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DEFENDANT: JENNY HERNANDEZ
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                                                            SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A. Lump sum payment of $400.00 due immediately.
Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. All criminal monetary penalties, except those payments made
through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties
imposed.
This assessment/fine/restitution is payable to the CLERK, UNITED STATES COURTS and is to be addressed to:
U.S. CLERK'S OFFICE
ATTN: FINANCIAL SECTION
400 NORTH MIAMI AVENUE, ROOM 08N09
MIAMI, FLORIDA 33128-7716
The assessment/fine/restitution is payable immediately. The U.S. Bureau of Prisons, U.S. Probation Office and the
U.S. Attorney's Office are responsible for the enforcement of this order.
The Government shall file a preliminary order of forfeiture within 3 days.
Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest,
(4) fine principal, (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of
prosecution and court costs.
